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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                         Case No. 13‐CR‐0035(2) (PJS/SER)

                      Plaintiff,

 v.                                                             ORDER

 STUART ALAN VOIGT,

                      Defendant.

       Robert M. Lewis, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Andrew S. Birrell, GASKINS BENNETT BIRRELL SCHUPP, LLP; Joseph
       S. Friedberg, JOSEPH S. FRIEDBERG, CHARTERED, for defendant Stuart
       Voigt.

       This matter is before the Court on defendant Stuart Voigt’s objection to

Magistrate Judge Steven E. Rau’s November 24, 2015 Report and Recommendation

(“R&R”). Judge Rau recommends denying Voigt’s motion to suppress evidence. Based

on a de novo review, see 28 U.S.C. § 636(b)(1), Fed. R. Crim. P. 59(b)(3), the Court

overrules Voigt’s objection to the R&R and denies his motion to suppress.

       Voigt seeks to suppress statements that he made during a February 16, 2012

interview with federal investigators on the basis that the interview was conducted in

violation of Minn. R. Prof. Conduct 4.2. Rule 4.2 prohibits a lawyer from

communicating about a matter with a person whom the lawyer knows to be

represented in the matter without first obtaining the consent of the person’s lawyer.
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The rule is applicable to attorneys for the federal government by virtue of 28 U.S.C.

§ 530B. The investigators who interviewed Voigt on February 16, 2012 are not lawyers,

but Voigt contends that they were acting at the behest of the prosecutor in this case. See

State v. Miller, 600 N.W.2d 457, 464 (Minn. 1999) (“a lawyer is responsible for conduct of

any associated nonlawyer if the lawyer orders or ratifies the nonlawyer’s conduct”).

       Voigt’s allegation is not supported by the evidence in the record. The only

evidence that the prosecutor had anything to do with the February 16 interview is the

fact that the investigators stopped by the prosecutor’s office before the interview in

order to pick up a target letter to deliver to Voigt. Even if that were a sufficient basis on

which to find that the investigators were acting under the direction of the

prosecutor—which the Court does not believe to be the case—there is no evidence

whatsoever that the prosecutor knew that Voigt was represented (assuming that he

was, in fact, represented for purposes of the criminal investigation). Rule 4.2 is

therefore simply inapplicable. Miller, 600 N.W.2d at 464 (absent conduct attributable to

an attorney, Rule 4.2 does not apply).

       Moreover, Rule 4.2 permits criminal investigators to contact represented persons

unless the contact “goes beyond fair and legitimate investigation and is so egregious

that it impairs the fair administration of justice . . . .” Id. at 467. Voigt contends that the

investigators acted egregiously by waiting until the conclusion of the interview to give



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him the target letter that identified him as the target of a criminal investigation. There is

no evidence that the prosecutor knew about or ratified that act, however. Setting that

aside, that act alone, in the context of the entire interview, did not render the

investigators’ conduct egregious.

       Contrary to Voigt’s characterization, the target letter does not advise him to

obtain a lawyer. Instead, it invites Voigt to contact the prosecutor to discuss the

pending criminal investigation and advises him that, if he is represented, he should do

so through his lawyer. See Gov’t Ex. D [ECF No. 108‐4]. Although the investigators did

not give Voigt this letter until the end of the interview, they otherwise treated Voigt

fairly: At the beginning of the interview, the investigators identified themselves,

explained why they were there, and asked Voigt if he was represented in a criminal

matter relating to Hennessey Financial. Hr’g Tr. 10, 21‐22, 23‐24, 43, Oct. 5, 2015 [ECF

No. 103]. The investigators also explained that Voigt’s participation in the interview

was voluntary, that he could end the interview at any time, and that the investigators

would leave if at any time Voigt asked them to do so. Hr’g Tr. 22, 36.

       The Court therefore concludes, as did Judge Rau, that the investigators’ conduct

was “authorized . . . by law” within the meaning of Rule 4.2. And even if it was not, the

investigators’ conduct was not sufficiently egregious to warrant suppression (assuming

that suppression is even a remedy that is available under federal law, which the Court



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questions1). Cf. Miller, 600 N.W.2d at 465 (suppression is not automatic, but is an

appropriate remedy under state law for egregious violations of Rule 4.2 that

compromise the fair administration of justice); State v. Clark, 738 N.W.2d 316, 340‐45

(Minn. 2007) (suppression was not warranted despite violation of Rule 4.2).

                                         ORDER

      Based on the foregoing, and on all of the files, records, and proceedings herein,

the Court ADOPTS the R&R [ECF No. 115]. IT IS HEREBY ORDERED THAT

defendant’s motion to suppress statements [ECF No. 82] is DENIED.




 Dated: December 30, 2015                     s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




      1
        Minnesota is unusual in holding that suppression can be employed as a remedy
for violations of the no‐contact rule. See State v. Clark, 738 N.W.2d 316, 340‐41 (Minn.
2007) (noting that while almost every court has rejected suppression as a remedy for
violations of the no‐contact rule, Minnesota takes a case‐by‐case approach to determine
if suppression is warranted).

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